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PROB 22 DOCKET NuMBER (Tran. Coun‘)
(Rev. 2188) __ _ _ W) __\ _“
TRANSFER OF JUR|SD|CT|ON ~- - -- -- ~ 2:95CR20274~001
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NAME AND ADDRESS oF PROBATloNER/suPERVlSED ;:::','jj]`S:T'RICT_` l : " DivlsloN
RELEAsEE i.`:" r~"` - :L '. , l
" ")WE§§tefn`Dis`!trlct of Western
Athen Jones Tennessee
208 Royal Pine Drive Apt. F
Huntsvine’ AL 35806 NAME OF SENTENC[NG JUDGE
Honorable Bemice B. Donald
DATES OF FROM TO
§§€:£;éoN/supsavlseo 91/31/05 01 /3 0/08
OFFENSE

Armed Bank Robbery 18 U.S.C. § 2113 (a) & (d) and 2

 

PART 1 - ORDER TRANSFERR|NG JUR|SD|CT|ON

 

uNiTED sTATEs DlsTRicT couR'r FoR THE Western D|STR|CT OF Ten nessee

 

lT |S HEREBY ORDERED that pursuant to 18 U.S.C. 3605 thejurisdiction ofthe probationer or
supervised releasee named above be transferred with the records of the Court to the United States
District Court for the Northern District of A|abama upon that Court's order of acceptance
jurisdiction. This Court hereby expressly consents that the period of probation or supervised release
may be changed by the District Court to which this transfer is made without further inquiry of tth
court.*

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‘ ' ‘“ ‘ '6;~@3/ a
with Rule 55 aridi='or 32(0} FHLrP on __§:

3~/ » / M/WM/…:

Date / United States District Jud'ge

 

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEFT|NG JURISDICTION

 

uNlTED sTATEs DlsTRicr couRT FOR THE Northern District of A|abama

 

 

IT |S HEREBY ORDERED that jurisdiction over the above-named probationer/supervised

releasee be accepted and assumed by this Court from and after the entry of this order.

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Effective Date United States District ..ludge

 

 

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ISTRICT COURT - WESTNER DI's'TRIT OF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 159 in
ease 2:95-CR-20274 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

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Honorable Berniee Donald
US DISTRICT COURT

